     Case 8:19-cv-01212-FLA-JDE Document 75 Filed 08/24/21 Page 1 of 3 Page ID #:417



1
2
3
4
5
6
7
8                                UNITED STATES DISTRICT COURT
9                               CENTRAL DISTRICT OF CALIFORNIA
10
11    PAVEL FUKS,                                    Case No. 8:19-cv-1212- FLA (JDEx)
12                                Plaintiff/s,
                                                     FIRST AMENDED JOINT EXHIBIT
13                    v.                             LIST
14
15    YURI VANETIK,
16                                Defendant/s.
17
18
19
                                                 Witness Establishing      Date       Date
20    Ex. #                Description               Foundation          Identified Admitted
21    1            Text file containing          Defendant objects to
                   messages exchanged            foundation.
22                 between Plaintiff and
23                 Defendant from March 18,      Plaintiff Pavlo Fuks
                   2016 through May 10, 2017     will intends to
24                 with translation.             establish foundation.
25    2            Email from Yuri Vanetik       Foundation
                   sent November 21, 2016        Stipulated
26
                   with attached invoice from
27                 Odyssey Management,
                   LLC
28

                                                     -1-
      45958035.1
     Case 8:19-cv-01212-FLA-JDE Document 75 Filed 08/24/21 Page 2 of 3 Page ID #:418



1     3            November 22, 2016 SWIFT        Foundation
                   receipt for payment of         Stipulated
2                  $200,000 to Odyssey
3                  Management, LLC
      4            Defendant Yuri Vanetik’s       Foundation
4                  Response to Special            Stipulated
5                  Interrogatories, dated
                   November 20, 2019.
6     5            Email from Yuri Vanetik to     Foundation
7                  Matthew Keelen dated           Stipulated
                   January 13, 2017 with
8                  Subject “3 vip for black tie
9                  and boots”
      6            Email from Yuri Vanetik to     Foundation
10
                   Matthew Keelen dated           Stipulated
11                 January 12, 2017 with
                   Subject “Fwd: TSS Black
12
                   Tie & Boots”
13    7            Email from Matt Keelen to      Foundation
                   Yuri Vanetik dated January     Stipulated
14
                   28, 2017 with Subject “Re:
15                 Going to need some $ from
                   you for last week.”
16
      8            Email from Matt Keelen         Foundation
17                 dated January 13, 2017         Stipulated
18                 with attachment.
      9            Inaugural Events: Vip          Plaintiff objects to
19                 program with no date           foundation.
20                 attached.
                                                  Defendant Yuri
21                                                Vanetik intends to
22                                                establish foundation.
      10           Odyssey-Pavlo Fuks             Plaintiff objects to
23                 Confidential Consulting        foundation.
24                 agreement dated September
                   21, 2016.                      Defendant Yuri
25                                                Vanetik intends to
26                                                establish foundation.
      11           Plaintiff’s Objections and     Foundation
27                 Responses to defendant’s       Stipulated
28                 first set of request for


                                                      -2-
      45958035.1
     Case 8:19-cv-01212-FLA-JDE Document 75 Filed 08/24/21 Page 3 of 3 Page ID #:419



1                  admissions dated January
                   13, 2020.
2     12           Plaintiff’s Objections and     Foundation
3                  Responses to defendant’s       Stipulated
                   first set of special
4                  interrogatories dated
5                  January 13, 2020
      13           Text files between Plaintiff   Plaintiff objects to
6                  and Defendant from March       foundation.
7                  20, 2016 through March 29,
                   2016 with translations         Defendant Yuri
8                                                 Vanetik intends to
9                                                 establish foundation.
      14           Text message from              Plaintiff objects to
10
                   defendant to plaintiff dated   foundation.
11                 January 9, 2017
                                                  Defendant Yuri
12
                                                  Vanetik intends to
13                                                establish foundation.
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                      -3-
      45958035.1
